      Case 3:17-cv-00072-NKM-JCH Document 449 Filed 03/18/19 Page 1 of 1 Pageid#: 4161
AO435                           ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS                     FOR COURT USE ONLY
(Rev. 04/18; WDVA Rev. 02/19)
                                                                                                      DUE DATE:
                                           TRANSCRIPT ORDER FORM
Please Read Instructions on Page 2.
1. REQUESTOR’S                 NAME                                                 TELEPHONE NUMBER
   INFORMATION:
                                 James E. Kolenich                                   (513) 324-0905
DATE OF REQUEST                  EMAIL ADDRESS (Transcript will be emailed to this address.)
3/18/2018                         JEK318@GMAIL.COM
MAILING ADDRESS                                                                     CITY, STATE, ZIP CODE
Kolenich Law Office 9435 Waterstone Blvd. Suite 140                                 Cincinnati OH 45249
2. TRANSCRIPT                    NAME OF COURT REPORTER
   REQUESTED:

                                 OR   CHECK HERE      ✔    IF HEARING WAS RECORDED BY FTR

CASE NUMBER                      CASE NAME                                          JUDGE’S NAME
3:17-cv-00072                    Sines et al. v. Kessler et al.                     Joel C. Hoppe
DATE(S) OF                       TYPE OF PROCEEDING(S)                              LOCATION OF PROCEEDING
PROCEEDING(S)
3/18/19                          Telephone Status Conference                         Charlottesville, VA
REQUEST IS FOR: (Select one)            FULL PROCEEDING           OR            SPECIFIC PORTION(S) (Must specify below)
                                  ✔
SPECIFIC PORTION(S) REQUESTED (If applicable):



3. SERVICE TURNAROUND CATEGORY REQUESTED:
   (See Page 2 for descriptions of each service turnaround category.)
    Ordinary (30‐Day)                                              Daily

    14‐Day                                                             Hourly

✔ Expedited (7‐Day)                                                 RealTime

    3‐Day

4. CERTIFICATION: By signing below, I certify that I will pay all charges (deposit plus additional).
DATE                       SIGNATURE
 3/18/2019                        s/ James E. Kolenich


          If you have any questions, please contact the court reporter coordinator at (434) 847‐5722
          or by email to CRC@vawd.uscourts.gov.

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          NOTE: Form must be flattened prior to electronically filing in CM/ECF so that all fillable fields can
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